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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofIndiana
                                                                      __________


                       JOHN FRALISH,                           )
                             Plaintiff                         )
                                v.                             )      Case No.     3:21-cv-00761-JD-MGG
   SOLIDQUOTE LLC and BOOMSOURCING INC.,                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant Boomsourcing Inc.                                                                                  .


Date: 1/19/2022                                                                         /s/ A. Paul Heeringa
                                                                                         Attorney’s signature


                                                                              A. Paul Heeringa (IL Bar No. 6288233)
                                                                                     Printed name and bar number
                                                                               MANATT, PHELPS & PHILLIPS, LLP
                                                                                151 N. Franklin Street, Suite 2600
                                                                                      Chicago, Illinois 60606
                                                                             Counsel for Defendant Boomsourcing Inc.
                                                                                               Address

                                                                                      pheeringa@manatt.com
                                                                                            E-mail address

                                                                                          (312) 529-6300
                                                                                          Telephone number



                                                                                             FAX number
